
FERGUSON, Judge
(dissenting).
I see no material difference in the language used in the case law to justify a downward departure — “motivation to be rehabilitated” — and that used by the trial judge in this case — “amenability to treatment.” In reducing the sentence, the court undoubtedly believed that the defendant, as the defendant in State v. Forbes, was sincerely committed to shedding the socio-psychological disorder at the root of his criminal conduct. Moreover, precisely that same reason — amenability to treatment— was approved by the Supreme Court of Florida as justification for a downward departure from the sentencing guidelines. See Herrin v. State, 568 So.2d 920, 922 (Fla.1990).
The sentence should be affirmed.
